
65 N.Y.2d 960 (1985)
In the Matter of Audrey G. Hochberg, Respondent,
v.
Antonia D'Apice et al., Constituting the Board of Elections of the County of Westchester, Respondents, and Anthony J. Colavita et al., Appellants. (And Another Proceeding.)
Court of Appeals of the State of New York.
Argued August 26, 1985.
Decided August 28, 1985.
Michael Amodio and Aldo V. Vitagliano for appellants.
John W. De Marco for Audrey G. Hochberg, respondent.
Concur: Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE, ALEXANDER and TITONE.
Order affirmed, without costs, for reasons stated in the memorandum at the Appellate Division (112 AD2d ___).
